  Case 12-40844       Doc 43     Filed 06/11/13 Entered 06/11/13 16:44:35           Desc Main
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SO ORDERED.

SIGNED this 11 day of June, 2013.




                                                   John T. Laney, III
                                          Chief United States Bankruptcy Judge



                     IN THE UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

Jonathan D. Box,                                *
                                                *           Chapter 13
       Debtor,                                  *
                                                *           Case Number: 12-40844jtl
W.C. Morrison d/b/a M&W Auto Sales,             *
                                                *
       Movant,                                  *
vs.                                             *
                                                *
Jonathan D. Box,                                *
                                                *
       Respondent.                              *

                   ORDER ON MOTION FOR RELIEF FROM THE STAY

       The above captioned motion came on for hearing before the Court as scheduled on June

11, 2013. The Court has under advisement a motion filed by the Debtor the issue of whether or

not the Movant creditor is a secured creditor in view of the fact that no security agreement was

signed granting a security interest in the automobile in question. The confirmed plan provided

for payments on the automobile to be made to a credit union. The credit union has sold the

obligation to Mr. Morrison and has canceled their proof of claim. The creditor W.C. Morrison
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did not receive timely notice of the filing of this case. With the consent of the Debtor, the

creditor is granted twenty (20) days from the date of this Order to file a proof of claim in this

case, subject to objection by any interested party. The Court authorizes Mr. Morrison to file his

proof of claim on paper and therefore grants a waiver for Mr. Morrison in this case of the

requirement for electronic filing.

       To determine the outcome of the motion for relief from the stay, the Court will have to

determine the secured status of the movant. Therefore, this motion is continued and will again

be considered after the Court has ruled on the other pending motion in this case.

       SO ORDERED.
